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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS
                                   WICHITA DIVISION

  STATE OF ALASKA, ET AL.,                         §
                                                   §
          Plaintiffs,                              §
                                                   §
  v.                                               §
                                                   §
  DEPARTMENT OF EDUCATION, ET                      §
  AL.,                                             §    Civil Action No.: 24-1057-DDC-ADM
                                                   §
          Defendants.                              §
                                                   §



PLAINITFFS’ REPLY IN SUPPORT OF MOTION FOR JUDGMENT UNDER FRCP 54(b)

        In their response, Defendants do not dispute that this Court has discretion in deciding

whether to grant a motion for judgment under 54(b), subject to two conditions.1 Resp. at 1; see

also Stockman’s Water Co., LLC v. Vaca Partners, L.P., 425 F.3d 1263, 1265 (10th Cir. 2005) (“[A]

district court’s decision to grant certification under Rule 54(b) merits substantial deference and

should not be disturbed unless the district court’s determination was clearly erroneous.”). Nor

do they dispute that the first condition is satisfied: dismissal for lack of standing is final as to the

States of Kansas, Alabama, Idaho, Iowa, Louisiana, Montana, Nebraska, and Utah. Resp. at 2.

        As to the second condition, “the district court must determine that no just reason for

delay of entry of its judgment exists.” Stockman’s Water Co., LLC, 425 F.3d at 1265. In doing so, the

district court should “weigh[] Rule 54(b)’s policy of preventing piecemeal appeals against the



1 Defendants also invent a new, third condition: that the movant show it will be subject to

“unique” hardships if it is not able to appeal the dismissed claims. Resp. at 3 (quoting Oklahoma
Tpk. Auth. v. Bruner, 259 F.3d 1236, 1242 (10th Cir. 2001)). But they cite no authority applying this
supposed condition when some plaintiffs—who raised the exact same claims as non-dismissed
plaintiffs—have been dismissed (and with them, all of their claims).
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inequities that could result from delaying an appeal.” Id. “The inquiry focuses on practical

concerns, ‘particularly the question whether a subsequent appeal of the claims before the

district court will require the court of appeals to revisit the same issues decided in the first

appeal.’” Cont’l Materials Corp. v. Valco, Inc., 740 F. Appx. 893, 897 (10th Cir. 2018) (unpublished)

(quoting Jordan v. Pugh, 425 F.3d 820, 827 (10th Cir. 2005)). “Factors the district court should

consider are ‘whether the claims under review are separable from the others remaining to be

adjudicated and whether the nature of the claims already determined are such that no appellate

court would have to decide the same issues more than once even if there were subsequent

appeals.’” Stockman’s Water Co., LLC, 425 F.3d at 1265 (internal brackets omitted) (quoting

Curtiss–Wright Corp. v. General Elec. Co., 446 U.S. 1, 12 (1980)). “To determine whether separate

appeals will be redundant, courts consider whether the allegedly separate claims turn on the

same factual questions, whether they involve common legal issues, and whether separate

recovery is possible.” Cont’l Materials Corp., 740 F. Appx. at 897 (10th Cir. 2018) (quoting Jordan,

425 F.3d at 827); see also Curtiss-Wright Corp., 446 U.S. at 10 (court should consider the

“interrelationship of the claims so as to prevent piecemeal appeals in cases which should be

reviewed only as single units.”).

        Defendants argue entering 54(b) judgment and allowing the appeal to proceed would

result in a piecemeal approach in violation of Rule 54(b)’s policy. Resp. at 2. They thus urge the

Court to deny the motion. However, the piecemeal approach is disfavored when parties seek to

sever cases or claims and then proceed to appeal separately. See Cont’l Materials Corp., 740 F. Appx.

at 897 (Rule 54(b) judgment not proper when it would result in separating claims that involved

“intertwined” issue of law and fact); Onyx Properties LLC v. Bd. of Cnty. Comm’rs of Elbert Cnty., 916 F.

Supp. 2d 1191, 1210 (D. Colo. 2012) (Rule 54(b) judgment not warranted when it would sever

claims that had been consolidated). Here, the Dismissed States wish to keep the case together,

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not to separate the case into different appeals, and will seek to consolidate appeals at the Tenth

Circuit so that they may be heard and so that that court may consider the issues at one time.

        Moreover, doing as Defendants urge would create the piecemeal litigation Rule 54(b)

warns against; “a subsequent appeal of the claims before the district court will require the court

of appeals to revisit the same issues decided in the first appeal.” Atl. Specialty Ins. Co. v. Blue Cross &

Blue Shield of Kansas, Inc., No. 18-2371-DDC-JPO, 2022 WL 457787, at *5 (D. Kan. Feb. 15, 2022)

(quoting Jordan, 425 F.3d at 827). This Court found the Dismissed States did not establish

standing on either their taxation or PSLF-competitor theories of standing. Kansas v. Biden, No.

24-1057-DDC-ADM, 2024 WL 2880404, at *23 (D. Kan. June 7, 2024). These same theories

were raised by Alaska, South Carolina, and Texas and are being litigated now on appeal.2 See

Aple. Second Br. on Cross-Appeal at 23–26, Alaska .v Dep’t of Educ., No. 24–3094. Alaska, South

Carolina, and Texas have raised the same taxation issue in their emergency application to vacate

the Tenth Circuit’s stay, which is pending before the Supreme Court. See Application to Vacate

Stay at 14–15, Alaska v. Dep’t of Educ., No. 24A11 (docketed July 9, 2024). Denying this motion

(and not allowing the Dismissed States’ appeal to proceed) will result in the higher courts

having to revisit the exact same legal issues they are being asked to decide in Alaska v. Cardona,

Nos. 24–3089, 24-3094, and Alaska v. Department of Education, No. 24A11.

        Finally, Defendants draw the Court’s attention to the Eight Circuit’s administrative stay

of the Final Rule in Missouri v. Biden, Resp. at 3 (citing Order, Missouri v. Biden, No. 24-2332 (8th

Cir. July 18, 2024)), and mention that “the Final Rule is not being implemented at all,” because of


2 Notably, it was Defendants who initially raised the standing issue at the Tenth Circuit, first in

their application for an emergency stay, Emergency Mot. for Stay Pending Appeal at 9–11, Alaska
v. Dep’t of Educ., No. 24–3089, and then in their first brief on cross-appeal, Aplt. First Br. on Cross-
Appeal at 15–22, Alaska v. Cardona, Nos. 24–3089, 24-3094. While they focused their argument
on the instrumentalities theory, if the Tenth Circuit agrees with them, it will have to consider
the taxation and PSLF theories as well.
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that stay, id. However, Defendants have not said whether they intend to challenge that order (or

any subsequent injunction) either in the Eighth Circuit or Supreme Court. Because Plaintiffs in

this case have no ability to defend that order if Defendants should challenge it, a different order

from a different court in a different case does not provide sufficient relief as to require this Court

to deny entry of judgment under Rule 54(b) here.

       For these reasons, the Dismissed States request the Court enter Rule 54(b) judgment and

allow these appeals to proceed as a single unit.



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